    Case 19-27068-SLM       Doc 110    Filed 01/24/25 Entered 01/24/25 17:04:58                Desc Main
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UNITED STATES BANKRUPTCY COURT                                        Order Filed on January 24, 2025
DISTRICT OF NEW JERSEY                                                by Clerk,
                                                                      U.S. Bankruptcy Court
                                                                      District of New Jersey

                                                        Case No.:                 ___________________
                                                                                     19-27068 (SLM)
 In Re:
 Joseph A. DeNola                                       Hearing Date:             ___________________

                                                        Judge:                       Stacey L. Meisel
                                                                                  ___________________

                                                        Chapter:                          13
                                                                                  ___________________


                              ORDER VACATING FINAL DECREE


      The relief set forth on the following page is hereby ORDERED.




     DATED: January 24, 2025
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       The Court having determined that the final decree was entered prematurely in this case
 on __________________________
          January 23, 2025     and should be vacated for the reason stated below:


              t      Debtor has not yet been discharged

              t      Adversary Proceeding number ______________ is pending

              t              Pending Motion to Deem Mortgage Held
                     Other: ____________________________________
                             as Current (Doc# 105) scheduled for
                             ____________________________________
                             2/26/2025.
                             ____________________________________



       IT IS ORDERED that said final decree is vacated.




                                                                                      Rev. 7/1/04; jml




                                               2
